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                                                                                                                2018 Jan-25 AM 10:47
                                                                                                                U.S. DISTRICT COURT
                                                                                                                    N.D. OF ALABAMA


                               THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ALABAMA
                                       SOUTHERN DIVISION

THE BANK OF NEW YORK                                           )
MELLON TRUST COMPANY, N.A.,                                    )
as Indenture Trustee,                                          )
                                                               )
         Plaintiff,                                            )
                                                               )
v.                                                             )    Case No. 2:11-cv-01509-TMP
                                                               )
SALEM NURSING & REHAB CENTER                                   )
OF REFORM, INC., THE MEDICAL                                   )
CLINIC BOARD OF THE CITY OF                                    )
REFORM, ALABAMA, and ALTACARE                                  )
CORPORATION,                                                   )
                                                               )
         Defendants.                                           )

      ORDER APPROVING SIXTH INTERIM AND FINAL APPLICATION FOR
     COMPENSATION AND EXPENSES FOR MAYNARD, COOPER & GALE, P.C.

         This case is before the Court on the Sixth Interim and Final Application for

Compensation and Expenses for Maynard, Cooper & Gale, P.C. [Doc. 154] (the “Application”),

filed by Maynard Cooper & Gale, P.C. (the “Applicant”), for services rendered to Derek Pierce

of Healthcare Management Partners, LLC, as court appointed Receiver (the “Receiver”),

pursuant to this Court’s March 18, 2014 Order Appointing Receiver (the “Receiver Order”).

There is no opposition to the Application.

         After considering the nature and extent of the services rendered, determining the value

of those services and considering authority granted in the Receiver Order and the twelve factors

adopted by the Eleventh Circuit in Grant v. Schumann Tire & Battery Co., 908 F.2d 874 (11th

Cir. 1990) 1 and Norman v. The Housing Auth. of the City of Montgomery, 836 F.2d 1292 (11th

Cir. 1988), the Court finds the fees and expenses set forth in the Application to be reasonable

1
 Fifth Circuit decisions issued prior to October 1, 1981, constitute binding precedent in the Eleventh Circuit. Bonner
v. City of Prichard, 661 F.2d 1206, 1210 (11th Cir.1981).
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and beneficial to the Receivership Estate and are due to be paid to the Applicant from assets of

the Receivership Estate.

       Accordingly, the Application is hereby GRANTED and APPROVED, and the Court

hereby DIRECTS that the Receiver may disburse funds from the Receivership Estate in the

aggregate amount of $8,925.50 to Maynard Cooper & Gale, P.C.



       DONE and ORDERED on January 25, 2018.




                                            _______________________________
                                            T. MICHAEL PUTNAM
                                            UNITED STATES MAGISTRATE JUDGE




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